                                                                                         DEFENDANT’S
                                                                                           EXHIBIT
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        4. Any duty assignment where personnel do not carry an APD badge and firearm,
           including restricted duty, administrative assignment, or administrative leave.

7    B. The OBRD shall be worn forward facing at the beltline or above, or the middle of the
        torso, in a position intended to maximize the OBRD’s ability to record.

     C. While on-duty, the OBRD shall be in buffer mode, unless personnel are working in an
        administrative capacity. Personnel working in an administrative capacity are still
        subject to the requirements of mandatory recording incidents.

     D. Personnel shall ensure their OBRD is functioning properly at the beginning and end of
        each shift.

        1. Any malfunctions of the OBRD shall be immediately reported to a supervisor.

     E. Only Department-issued OBRDs shall be used.

6    F. Any video created during a shift shall be uploaded by the end of the next shift. To
        accomplish this, personnel shall upload their OBRD at least once per shift using a
        docking station or through a Department-issued sync cable and computer.

        1. Personnel who have scheduled days off beyond their normal duty weekends (i.e.,
           vacation/comp time, military leave, FMLA, etc.) shall upload video(s) prior to
           starting their time off from work.

        For personnel who do not have daily recorded videos, OBRDs shall be docked at least
        once per workweek to charge the batteries and complete firmware updates.
        Personnel may do this by using a docking station or through a Department-issued
        sync cable and computer.

     G. While Department equipment prevents manipulating or deleting of an original OBRD
        recording, personnel are nonetheless prohibited from intentionally manipulating or
        deleting an original OBRD recording.

6   2-8-5    Mandatory Recording

     A. Personnel shall activate their OBRD for anyy call for service,, for anyy other law
        enforcement activities that involve contact with members of the p   public,, and for any
        investigative encounters involving personnel and members of the public.

     B. For all mandatory recording incidents, personnel shall activate their OBRD prior to
        contact with individuals, except when faced with an emergency situation requiring
        immediate action to preserve life or safety. At the first available opportunity, personnel
        shall activate their OBRD immediately.

     C. Examples of mandatory recording events include, but are not limited to:
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1. Law enforcement encounters;

2. Traffic crashes;

3. Use of force encounters and any encounter with an individual who is known to be
   combative, or who becomes adversarial after the initial contact;

4. Arrests;

   a. Personnel shall inform arrestees they are being recorded unless doing so would
      be unsafe, impractical, or impossible.
   b. If an arrestee is taken to a medical facility, personnel shall strive only to record
      their interaction with the arrestee.

5. Detention and transport of individuals based on a CforE for emergency evaluation
   and care in response to behavioral health issues;

6. Incidents involving individuals known to have a behavioral health disorder or who
   are in a behavioral health crisis;

7. Community caretaking encounters; and

8. Searches;

   a. Vehicle searches performed without a warrant from the time the vehicle is
      entered until the search is concluded. Service of search warrants of vehicles will
      be consistent with SOPs Scientific Evidence Division and Execution of Search
      Warrants; and
   b. Service of search warrants of structures from the time of entry until the location
      is cleared and secured to allow the warrant to be executed. During the
      execution of the search warrant, the search will be consistent with SOPs
      Scientific Evidence Division and Execution of Search Warrants.
   c. When a search of a person is conducted, the OBRD shall be used, through the
      entirety of the search.
      i. When conducting a strip search, officers shall position their camera to
          collect audio data only. Officers shall verbally record the reason for not
          capturing visual data. Once the strip search is over, officers shall resume
          recording audio and visual.
      ii. When officers are present for a body cavity search being conducted by
          qualified medical personnel pursuant to a search warrant, officers shall
          position their camera to collect audio data only. Officers shall verbally record
          the reason for not capturing visual data. Once the body cavity search is over
          and the suspect is clothed, officers shall resume recording audio and visual.



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         D. For mandatoryy recording g incidents,, p
                                                   personnel shall record the entire law enforcement-
            related encounter. The law enforcement-related encounter ends when contact with the
            individual(s) is terminated.

         E. Any time one of these mandatory recording incidents is not captured in its entirety,
            personnel shall document why it was not recorded in a report, when one is required.
            When no report is required, personnel shall document the reason in the Computer-
            Aided Dispatch (CAD).

6     2-8-6     Prohibited Recording

         A. Personnel shall not activate their OBRD:

              1. During interactions with a CI;

              2. During personal activities and private conversations between Department
                 personnel that do not involve calls for service or do not involve any other law
                 enforcement or investigative encounters with a member of the public;

              3. At locations where recordings are prohibited by law, unless permission is obtained
                 to record; and

              4. In sensitive areas such as restrooms or locker rooms, unless the encounter is a
                 mandatory recording incident.

7        B. In the event personnel inadvertently record a prohibited recording incident, personnel
            shall categorize the video as “Restricted”.

N/A     2-8-7      Discretionary Recording

         A. For non-mandatory recording events and unless prohibited from recording, personnel
            have discretion to activate their OBRD when personnel reasonably believe it would be
            appropriate or valuable to document circumstances. In exercising this discretion,
            personnel should balance the need to record with legitimate privacy concerns.

         B. Discretionary recording is allowed when a scene is being processed by investigative
            units or the Scientific Evidence Division (SED) in which the scene is secured and
            absent of public contact.

6     2-8-8     Supervisor Responsibilities

         A. Supervisors shall:

              1. Verify the OBRD of personnel under their command is functioning properly by
                 observing the OBRD in buffer mode during routine equipment inspections. The
                 operation LED (light) will blink green.

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